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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

      UNITED STATES OF AMERICA,
                       Plaintiff,
                                           HONORABLE DENISE PAGE HOOD
            v.
                                           No. 21-20264
      YLLI DIDANI,
                     Defendant.
      _____________________________/


                   HEARING ON MOTION FOR A BILL OF PARTICULARS
                 (Conducted via Zoom Videoconferencing Software)
                             Wednesday, July 21, 2021

      Appearances:
      Mark Bilkovic                        Camilla Barkovic
      U.S. Attorney's Office               Camilla Barkovic, Attrny at Law
      211 W. Fort Street, #2300            25805 Harper Avenue
      Detroit, Michigan 48226              St. Clair Shores, MI 48081
      (313) 226-9100                       (248) 712-1054
        On behalf of Plaintiff               On behalf of Defendant
                                     -    -    -



                   To obtain a certified transcript, contact:
                     Sheri K. Ward, Official Court Reporter
                    Theodore Levin United States Courthouse
                          231 West Lafayette Boulevard
                            Detroit, Michigan 48226
                   (313)234-2604 · ward@transcriptorders.com
       Transcript produced using machine shorthand and CAT software.
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 1                                       Detroit, Michigan
 2                                       Wednesday, July 21, 2021
 3                                       9 a.m.
 4                                   -    -    -
 5               THE CLERK:     Calling Case Number 21-20264,
 6    United States of America v. Ylli Didani.
 7          Counsel, please place your appearances on the record.
 8               MR. BILKOVIC:     Good morning, Your Honor.
 9    Mark Bilkovic on behalf of the United States.
10               THE COURT:     Good morning.
11               MS. BARKOVIC:     And good morning, Your Honor.        May it
12    please the Court, Camilla Barkovic appearing on behalf of the
13    defendant.
14               THE COURT:     Okay.    Good morning, Miss Ward.     Good
15    morning, Ms. Barkovic.      Tell me this.     I couldn't help but
16    hear, but, Ms. Barkovic, your client isn't present and you say
17    he's in custody?
18               MS. BARKOVIC:     Yes, Your Honor.     That is accurate.
19               THE COURT:     Okay.    Well, let's see if we can find out
20    whether or not he's going to be appearing or not, and if he's
21    not, then we'll make arrangements for him to appear at another
22    time.
23          Mr. Brown, I suggest that you call Ms. Saulsberry, and if
24    she's not available Ms. Daly, and ask them if any arrangements
25    were made for her client to be present today from the Monroe

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 1    County Jail.    They, Ms. Barkovic, can't do it without notice.
 2    So if we're able to find out if he's already been set in the
 3    queue to appear, we'll proceed, and we'll find out where he is.
 4    If he's not, we'll take that up when we come back.           Okay?
 5               THE CLERK:     Okay.   I'm going to mute myself.
 6               THE COURT:     Okay.   So let's take a five-minute break,
 7    and we'll try to find out where he is.         Okay?   And, Mr. Brown,
 8    give me a call, please.
 9               THE CLERK:     Okay.   Will do.
10          (Recess from 9:02 a.m. to 9:11 a.m.)
11               THE COURT:     Did you have a chance to talk to your
12    client?
13               MS. BARKOVIC:     Yes, Your Honor.     Thank you.
14               THE COURT:     Okay.   Your client is in the video, and
15    has he signed a waiver to proceed by video conferencing?
16               MS. BARKOVIC:     Your Honor, we previously consented to
17    video conferencing in all prior proceedings.           I have discussed
18    his right to be physically present with him, and he consents to
19    proceed by way of Zoom today.        Is that accurate, Mr. Didani?
20               THE DEFENDANT:     Yes.   Yes, Your Honor, it's accurate.
21               THE COURT:     Counsel, has he signed a written waiver?
22               MS. BARKOVIC:     Your Honor, I haven't had him sign a
23    written waiver.
24               THE COURT:     Okay.   All right.    Great.
25          Okay.   Mr. Didani, tell me, you understand that we are

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 1    proceeding by video conferencing; is that correct?
 2               THE DEFENDANT:     Yes, correct, Your Honor.        Yes.
 3               THE COURT:     Okay.   Under the Cares Act, which allows
 4    us to do that, the Chief Judge of the Court has to make a
 5    determination that it's not safe for staff and the public to
 6    have in-person proceedings in the courthouse.          I have made such
 7    a finding a few weeks ago that extends for 90 days from that
 8    date, which covers today.
 9          We are having some in-person proceedings in our
10    courthouse, but they are prioritized by a special committee,
11    and only a few of those proceedings happen.          We're at about
12    50 percent work capacity of our staff, and so we are continuing
13    with these video conferences because I think it is still not
14    safe for the Court to have its full load of people on a
15    day-to-day basis because of the COVID-19 virus.
16          As an individual judge of each case, the judge has to make
17    a determination that it's in the best interests of justice and
18    it protects the right -- the constitutional rights of the
19    defendant to proceed with a video conference, and I make those
20    findings in this particular case.
21          Mr. Bilkovic, does your office want me to make any further
22    finding than that?
23               MR. BILKOVIC:     No, Your Honor.     Thank you.
24               THE COURT:     I know I butchered your name, didn't I?
25               MR. BILKOVIC:     No, that was pretty good.

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 1               THE COURT:     Repeat it for me though.
 2               MR. BILKOVIC:     Bilkovic.
 3               THE COURT:     Bilkovic, okay.     Thank you.
 4          Ms. Barkovic, do you want me to make any other findings?
 5               MS. BARKOVIC:     No, Your Honor.     I'm satisfied.
 6    Thank you.
 7               THE COURT:     Okay.   And, Mr. Didani, your counsel
 8    tells me you are ready to give up your right to have an
 9    in-person hearing and proceed by video conference; is that
10    correct?
11               THE DEFENDANT:     That's correct, Your Honor.        That's
12    correct, yes.
13               THE COURT:     Has anyone forced or threatened you to
14    get you to do that?
15               THE DEFENDANT:     No, Your Honor.     No.
16               THE COURT:     Has anyone forced or threatened anyone
17    close to you to get you to do that?
18               THE DEFENDANT:     No, Your Honor.     No.
19               THE COURT:     Okay.   Very well then.     Let's proceed.
20               THE DEFENDANT:     Thank you, Your Honor.
21               THE COURT:     Okay.   Thank you, sir.
22          This is a motion for a bill of particulars; is that
23    correct?
24               MS. BARKOVIC:     Correct.
25               THE COURT:     Okay.   You may proceed.

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 1               MS. BARKOVIC:     Thank you.    Your Honor, I filed a
 2    motion for a bill of particulars on behalf of the defendant.
 3    My position is simple.      The indictment filed in connection with
 4    this case --
 5          (Zoom transmission error.)
 6               MS. BARKOVIC:     So, Your Honor, to reiterate, I filed
 7    a motion for a bill of particulars on behalf of the defendant
 8    in this matter.     It's my position that the indictment simply
 9    alleges a conspiracy to distribute controlled substances.
10          (Zoom transmission error.)
11               THE COURT:     Okay.   Let's call IT and tell them what's
12    happening.
13          (Recess from 9:20 a.m. to 9:22 a.m.)
14               THE COURT:     All right.    We're back on the record.
15    Let's proceed.     Let's try it again.     Okay?
16          Ms. Barkovic, you may proceed from the beginning, please.
17               MS. BARKOVIC:     Thank you, Judge, happy to do it.
18    Your Honor, I filed a motion for a bill of particulars on
19    behalf of the defendant in this matter.         The defendant
20    presently stands charged pursuant to the indictment with one
21    count of conspiracy to distribute controlled substances, and
22    that is all the indictment alleges.
23          Now, it's my position that the allegations set forth in
24    the indictment are vague, generalized and fail to provide the
25    defendant with adequate and appropriate notice of what he must

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 1    defend against in this case.       It's my position that the lack of
 2    specific and/or meaningful information in the indictment
 3    deprives this defendant of any meaningful or fair opportunity
 4    or the ability to defend against this case, prepare a defense,
 5    and the ability to file pretrial motions.         In addition, it
 6    precludes the defendant from identifying necessary witnesses to
 7    assist in his defense.
 8          This is especially true in light of the voluminous nature
 9    of the discovery materials in this case.         I want to emphasize
10    the fact that the Government has provided defense counsel with
11    thousands, if not hundreds of thousands, of documents and items
12    in connection with this matter.        A bill of particulars in this
13    case is absolutely necessary to adequately apprise the
14    defendant of what he must defend against, to prevent
15    prejudicial surprise, to provide information necessary to
16    formulate and present a defense to this case, and, further, to
17    prevent a second prosecution of the defendant for the exact
18    same conduct.
19          Now, I set forth specific items that I'm looking for the
20    prosecution to provide additional information on in my motion.
21    There are no coconspirators identified.         There are no specific
22    exact dates on which any coconspirator allegedly involved
23    himself or herself with the conspiracy, no specific locations
24    at which the conspiracy is alleged to have occurred.
25          Now, the Government has objected to providing a bill of

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 1    particulars.    My position on that is simple, and that is the
 2    Government charged the defendant in this case with the offense
 3    in question.    The Government should easily know the basis for
 4    the charge and should have no issue providing the defendant
 5    with further specific information underlying the specific basis
 6    for their contention that he was in fact involved in a
 7    conspiracy to distribute controlled substances.
 8          Your Honor, I'm asking for very specific information which
 9    is essential to the defense of this case, and I'm asking that
10    the Court order the Government to provide the information I am
11    seeking because it is essential to the defendant's right to a
12    fair trial and his right to prepare and present a defense, and
13    the Government should want the defendant to have a fair trial
14    and should want the defendant's due process rights to be
15    respected.
16          So, Your Honor, I'll leave it at I'm simply asking the
17    Court to order the Government to provide the information I am
18    seeking.
19               THE COURT:     Okay.   The Government may respond.
20          Your specific requests begin on Page 2 -- is that
21    correct? -- of your brief starting with the identity, address
22    and date of birth of each coconspirator?
23               MS. BARKOVIC:     Yes, that's accurate.
24               THE COURT:     And they are A through M -- I'm sorry,
25    P -- no, Q, right before Paragraph 5; is that correct?

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 1                MS. BARKOVIC:     That's accurate, Judge.
 2                THE COURT:    Okay.   And how much discovery did you say
 3    you have already?
 4                MS. BARKOVIC:     A ton.
 5                THE COURT:    A ton doesn't tell me anything, counsel.
 6    How many documents do you think you have?
 7                MS. BARKOVIC:     Probably like close to maybe 90,000.
 8    It's hard for me to quantify offhand exactly.          There have been
 9    phone dumps in this matter.       It's my understanding that the
10    phone dumps consist of maybe 60 to 70,000 pages.
11          In addition, there are numerous reports alleging actions
12    that occurred in various countries, not the
13    United States of America.       Plus, there are a ton of
14    communications allegedly engaged in by and between this
15    defendant and a number of people, and, without knowing the
16    identities of the alleged coconspirators, it's impossible to
17    narrow the issues.
18                THE COURT:    Are any of the documents categorized or
19    tabbed in any way?
20                MS. BARKOVIC:     Your Honor, the reports, in my
21    opinion, are entirely disorganized in the sense that we have
22    received a number of reports --
23                THE COURT:    Well, they might be disorganized, but
24    what I'm trying to find out, are they identified by subject, is
25    there a table of contents or anything like that?           You just have

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 1    some reports, and that's it?
 2                MS. BARKOVIC:     Yes, Your Honor.     They are not
 3    organized by subject.      We do not have tabs indicating events
 4    occurring in 2016, 2017, 2018 or 2019, and the telephone
 5    records which were contained on a thumb drive, yes, they are
 6    organized in the sense that the document or a file folder
 7    specifically identifies them as having come from a cellular
 8    device.    However, there are thousands of communications
 9    contained within those records.
10                THE COURT:    Okay.   Thank you.    Do you wish to
11    respond?
12                MR. BILKOVIC:     Yes, Your Honor.
13                THE COURT:    Tell me this.     Begin by responding, tell
14    me, is Mr. Didani, is he the -- is he conspirator 1?
15                MR. BILKOVIC:     He is not conspirator 1.
16                THE COURT:    Okay.   He is defendant 1 though, right?
17                MR. BILKOVIC:     He is defendant 1.
18                THE COURT:    Okay.   All right.    Go ahead, please.
19                MR. BILKOVIC:     Your Honor, I want to start with the
20    discovery issue, first of all.        There have been
21    five productions that have been downloaded and sent to counsel
22    via USAFX.    With each one of those discovery productions, there
23    is also a document that has been included with those that is an
24    index that describes by Bates number what each one of those
25    reports is.    For example, in one of the discovery productions

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 1    it's titled DEA-6, arrest of Ylli Didani at Charlotte-Douglas
 2    International Airport in acquisition of Exhibits 67, 68 and 69
 3    on March 31st, 2021.
 4          Every document, there is an index that describes what it
 5    is, and counsel has that.       Part of the problem is -- we have
 6    provided five productions, and I have the dates of those
 7    productions.     The productions consist of 1,669 pages of
 8    discovery via USAFX, which includes reports, lab results and
 9    search warrants.     We have also provided via hard drive several
10    iCloud productions as well as a phone extraction.
11          As of yesterday, one of the productions, which was
12    provided on June 8th, 2021, that consisted of 353 pages of
13    discovery, was not opened by one of the attorneys of record,
14    Mr. Kaplan, and was not opened and downloaded by Ms. Barkovic
15    until yesterday.     So I think that's part of the problem is I
16    don't believe that they have reviewed all of the discovery.
17          I have also had extensive conversations with them.           They
18    are aware of who coconspirator 1 is.         They are aware of who
19    coconspirator 2 is.
20                THE COURT:    What does that mean, they are aware?
21    Meaning --
22                MR. BILKOVIC:     They are aware from the discovery and
23    from conversations that I have had with them.          Because contrary
24    to what --
25                THE COURT:    Aware of what relative to that person?

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 1    Their name?
 2                MR. BILKOVIC:     They are aware of their name.       They
 3    have the reports with respect to the activity that they are
 4    alleged to have engaged in.       They are aware and they have the
 5    conversations that those individuals had with Mr. Didani.
 6                THE COURT:    Okay.
 7                MR. BILKOVIC:     When you're talking about a bill of
 8    particulars, basically the Constitution requires that it has to
 9    allege the elements of the charged offense and fairly inform
10    the defendant of a charge in which he must defend.           In this
11    case he's charged with a conspiracy to distribute controlled
12    substances.    The elements of that offense are an agreement to
13    knowingly violate the drug laws; number two, knowingly and
14    intentionally joining the conspiracy; and number three,
15    participating in the conspiracy.
16          The indictment alleges that Mr. Didani knowingly and
17    intentionally agreed with other individuals to distribute
18    controlled substances.      It alleges that Mr. Didani conspired --
19    or the conspiracy involves five kilograms or more of cocaine.
20    That takes care of element 1 and 2.
21          Contrary to what counsel indicated, that that's all the
22    indictment alleges, that's not true.         The indictment also has a
23    manner and means section, and it has an overt acts section.
24          The indictment alleges that Didani and others would plan
25    and finance the conspiracy.       The indictment alleges that Didani

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 1    and others would and did use United States Currency to finance
 2    their accumulation and distribution of controlled substances.
 3    The indictment alleges that Didani and others would use
 4    telecommunication devices, including cell phones, to facilitate
 5    the distribution of controlled substances.
 6          The indictment alleges specific acts:         That on June 16th,
 7    2016, Didani received $100,000 from a coconspirator for the
 8    purchase of bulk cocaine.
 9          The indictment alleges that on December 21st Didani
10    received $450,000 from a coconspirator for the purchase of
11    cocaine.    The discovery that it has provided to them details
12    the reports of that transaction, details basically how that
13    money was provided to the coconspirator, details who provided
14    it to the coconspirator, details how the conspirator got it to
15    Mr. Didani, and it identifies the coconspirator by name.
16          There is also a 27-page complaint that was filed in this
17    case that lays out additional details, and, based on all of
18    that information, including the discovery that has been
19    provided, Mr. Didani should be on notice of what it is that
20    he's charged with.
21          There are very -- I mean the request is very, very broad,
22    and the case law is very clear that a bill of particulars
23    should not be used as a discovery tool.         It should not be
24    utilized to obtain the name of all other coconspirators, the
25    specific dates of the conspiracy, the precise role of the

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 1    defendant and coconspirators that they played in forming a
 2    conspiracy, the facts regarding the formation of the
 3    conspiracy, and all overt acts in furtherance of the
 4    conspiracy.
 5          The case law also -- and I have cited the cases in my
 6    brief, that it is not available -- a bill of particulars is not
 7    available and should not substitute information that is also
 8    available through other sources, including discovery.
 9          And here, as I have indicated to the Court, we have
10    provided 1,669 pages of discovery, we have also provided phone
11    downloads, and in that discovery the defense is on notice of
12    the names of other coconspirators, the dates and descriptions
13    of overt acts in furtherance of the conspiracy.           It contains
14    the location where these overt acts occurred.          It contains
15    names of the coconspirators who engaged in those overt acts,
16    and it contains conversations between the defendants and other
17    coconspirators relating to the conspiracy.
18          As I have indicated, I have had several lengthy
19    conversations with counsel.       I had one with Ms. Barkovic and
20    Mr. Kaplin yesterday, and I had one with Mr. Kaplan for
21    approximately two and-a-half hours a couple of weeks ago where
22    I went through a time line and identified the pertinent, key
23    areas that he should focus on in the discovery.
24          I also offered that if he wanted I would identify by phone
25    number in the dumps the specific areas where he should look and

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 1    pull and read the entire transcripts of messages between
 2    Mr. Didani and other coconspirators.         As of today, he has not
 3    taken me up on that offer.
 4          So at the very least I think that this is premature.
 5    Until the defense has a full opportunity to review the
 6    discovery and see what is in there, I think it's premature for
 7    this Court to order things that are clearly prohibited by case
 8    law and other things that are contained in the discovery that
 9    are easily identifiable.
10          The reason that the coconspirators are not identified in
11    the indictment is it's improper basically to identify by name
12    coconspirators that are uncharged so that's why that was not
13    done, but there is no doubt that counsel is aware, at the very
14    least, who coconspirator one is, who coconspirator two is, and
15    what their roles in the conspiracy were, and, as a result, I
16    believe that it is improper at this point for the Court to
17    order the Government to provide a bill of particulars.
18                THE COURT:    Okay.   Counsel, do you have the discovery
19    that he indicated?
20                MS. BARKOVIC:     Yes, Judge, I do have the discovery he
21    indicated.
22                THE COURT:    Have you reviewed the indexes?
23                MS. BARKOVIC:     Yes, Judge.    They are basic indexes,
24    but what the Court had asked me earlier --
25                THE COURT:    I'm not sure I know what a "basic index"

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 1    is.   How is it basic as compared to something that's not basic?
 2                MS. BARKOVIC:     So, generally speaking, they will just
 3    say, and I don't have it up right now, but DEA report.
 4    Sometimes there's additional information, like DEA report dated
 5    January 1st, 2016.
 6          That's all good and well, and the Government is contending
 7    that we have had discussions, and we have, but in our
 8    discussions most recently yesterday I asked him for further
 9    information and to identify all potential coconspirators
10    because the indictment doesn't just allege coconspirator one,
11    coconspirator two.      It specifically indicates that Mr. Didani
12    conspired with known or unknown individuals, and I was looking
13    to obtain clarification on that to hopefully eliminate some
14    issues, but there may be other coconspirators based on my
15    discussions with the Government in this case.
16          And the indictment is what controls the instant
17    prosecution, and if we're going into this blind, I mean the
18    government could simply proceed at trial and claim that other
19    individuals were involved, then I would not have had
20    essentially notice of that in advance and I could not have
21    attacked the admissibility of, let's say, statements of these
22    individuals by way of a pretrial motion to exclude their
23    statements.    If they are not coconspirators, then a hearsay
24    exception doesn't apply.
25          Plus, it's essential that the Government confine exactly

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 1    what we're looking at.      There are allegations in the discovery
 2    relating to other alleged criminal offenses, including money
 3    laundering, and, if the prosecution is not guided or limited in
 4    this case, this will turn into a free-for-all, and that is my
 5    concern.    That is the basis for me filing the instant motion,
 6    and if the government is able, like it has indicated to this
 7    Court, to specifically provide information underlying the basis
 8    for the charge, then I don't know why they have an objection to
 9    filing a bill of particulars.
10                THE COURT:    Okay.   How do you respond to his argument
11    that the bill of particulars is not to be used as a discovery
12    device?
13                MS. BARKOVIC:     Your Honor, I'm not looking to utilize
14    it as a discovery device.       I'm looking to utilize it to confine
15    the prosecution of this case to specific acts and one specific
16    conspiracy.
17          I'm asking for a bill of particulars to serve alternate
18    purposes, meaning to prevent the possibility of double
19    jeopardy, to put the defendant on notice as to what forms the
20    basis for the charges.      There needs to be some constraints on
21    the prosecution in this matter because right now, given the
22    voluminous nature of the discovery and the multitude of
23    allegations as it relates to Mr. Didani and other individuals,
24    it's impossible to defend against this case effectively.
25                THE COURT:    Do you know who conspirator one and two

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 1    are?
 2                MS. BARKOVIC:     Yes, I would assume that I do based on
 3    my discussions with the prosecution.
 4                THE COURT:    Okay.   And did the prosecution offer, as
 5    they have indicated to the Court, to sit down and provide some
 6    further information relative to the discovery?
 7                MS. BARKOVIC:     Yes, and, Your Honor, that's --
 8                THE COURT:    Are you taking them up on that offer?
 9                MS. BARKOVIC:     Yes, Your Honor.     I had a phone
10    conference with Mr. Bilkovic yesterday, which lasted
11    approximately an hour and a half.        We went through certain
12    discovery materials in this case.        He provided me with his
13    timeline as it relates to certain allegations.           However, there
14    was certain information that he would not provide.
15                THE COURT:    Okay.   Like what?
16                MS. BARKOVIC:     Like the identities of all potential
17    coconspirators and the exact locations of certain events, where
18    they are located.
19           Your Honor, look, working with Mr. Bilkovic is a pleasure
20    and he has been extremely helpful, and I appreciate him taking
21    the time to sit down with defense counsel and highlight certain
22    things for us, especially in light of the voluminous nature of
23    the discovery, but I am looking for formal advancement of a
24    position by the Government as to the basis of the charge
25    because, if we do not have that in this case, there are going

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 1    to be serious problems come the time of trial.
 2                THE COURT:    Okay.   Anything else anyone wants to add?
 3                MR. BILKOVIC:     Can I just respond briefly,
 4    Your Honor?
 5                THE COURT:    You may.
 6                MR. BILKOVIC:     With respect to the discovery index,
 7    there is a detailed index.        For example, one of the -- they
 8    talked about a report, Activation of Cellular GPS Ping, phone
 9    number (917)741-4296 utilized by Alex Meskouris.
10    Alex Meskouris was somebody that is alleged to or that we
11    believe was involved in a money laundering scheme with
12    Mr. Didani.    I have identified that person to counsel.          They
13    have his number.
14          To know what it is that he has done, all they have to do
15    is run that number in the production from the iCloud and they
16    will obtain the full conversation between Mr. Meskouris and
17    Mr. Didani.    I shouldn't have to put that in a bill of
18    particulars when they already have it.
19          The reason why I have not identified every conspirator is
20    because some of them are unknown, and that is okay.            These are
21    people that Mr. Didani was communicating with throughout the
22    world.    We have numbers for them.      We have monikers for them.
23    They are identified by those numbers and the monikers in the
24    reports that have been provided to counsel.
25          Everything that she is concerned about that she needs to

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 1    know is in the discovery, and she was not privy to the
 2    conversation that I had with Mr. Kaplan several weeks ago
 3    where, even though it is in the discovery, there are reports
 4    about these various numbers.         I have offered to basically
 5    provide him the numbers of the conversations that he should be
 6    looking at involving conspirators, both known and unknown, so
 7    he has an opportunity to fully review the conversations between
 8    Mr. Didani and those individuals, and, as of now, he has not
 9    taken me up on that.
10                THE COURT:    Okay.   You can send that information to
11    Ms. Barkovic, I think; right?
12                MR. BILKOVIC:     Yep.
13                THE COURT:    Okay.   Anything else?
14                MR. BILKOVIC:     Nothing from the Government,
15    Your Honor.
16                THE COURT:    How many of these indexes are there?
17                MS. BARKOVIC:     It would be one associated with each
18    production.    So on USAFX we received five productions so five.
19                THE COURT:    Do you have any problem if I look at
20    them?
21                MR. BILKOVIC:     No, Your Honor.     Would you like me to
22    provide them to the Court?
23                THE COURT:    Well, let me ask the defense.        Do you
24    have any problem if I look at them, the indices?
25                MS. BARKOVIC:     No problem with the indexes only.

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 1                THE COURT:    You're hesitating.      If you have a
 2    problem, this is the time to say so.
 3                MS. BARKOVIC:     No, no problem.
 4                THE COURT:    Very good.    Can you get them to me within
 5    a couple of days?
 6                MR. BILKOVIC:     I could have them to you by the end of
 7    the week.    I've got to meet with my parallel and have her do
 8    that.    I'm kind of handicapped --
 9                THE COURT:    Let me look at them, and then I'll give
10    you a decision by the beginning of next week.
11                MS. BARKOVIC:     Thank you, Judge.
12                MR. BILKOVIC:     Your Honor, would you like me to
13    provide them to you on ECF as a supplemental exhibit or would
14    you --
15                THE COURT:    Yes, that would be good.
16                MR. BILKOVIC:     Would Your Honor --
17                THE COURT:    And that way there will be a record of it
18    since counsel agrees I can review it.         Okay?
19                MR. BILKOVIC:     Can I ask one further question?
20    Because some of the individuals are still being investigated.
21    I would prefer that their names not be on the record, and some
22    of them are identified in the index.         Could I provide the index
23    under seal?
24                THE COURT:    Can you redact the names?
25                MR. BILKOVIC:     I can redact -- if the Court is okay

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 1    with that and counsel is okay with that, I could redact the
 2    names.    That would be fine.     I have no objection to that.
 3                THE COURT:    Counsel, what would you like?        Do you
 4    want it redacted or do you want it under seal?
 5                MS. BARKOVIC:     Under seal, Judge.
 6                THE COURT:    Okay.   You can provide it under seal.           If
 7    you are providing it under seal, can you get me a hard copy
 8    under seal to the office?
 9                MR. BILKOVIC:     Yes.
10                THE COURT:    I think they will let you come in and
11    drop it off, or you can call my office and someone will arrange
12    to meet you to get it.      Okay?
13                MR. BILKOVIC:     Yes.    I can do that, Your Honor, yes.
14                THE COURT:    And you can arrange that with Mr. Brown.
15    It will not be Mr. Brown who will meet you, but someone will
16    meet you on one of the days that they are there.           They are only
17    there on Monday, Tuesday, Thursday and Friday, counsel.            Okay?
18                MR. BILKOVIC:     Okay.   You said there is somebody
19    there on Friday?
20                THE COURT:    Yes.    Somebody is there on Monday,
21    Tuesday, Thursday and Friday.         Okay?
22                MR. BILKOVIC:     Mr. Brown, can I get your number so I
23    can call you to make those arrangements?
24                THE CLERK:    I'll send it to you in chat.
25                MR. BILKOVIC:     That's fine.    Thank you.

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 1                THE COURT:    Anything else we need to take up?
 2                MR. BILKOVIC:     No, Your Honor.
 3                MS. BARKOVIC:     Nothing further at this time, Judge.
 4                THE COURT:    Mr. Didani, do you understand what is
 5    happening during this proceeding?
 6                THE DEFENDANT:     Yes, Your Honor.      Yes.
 7                THE COURT:    All right.     Very good.   Thank you for
 8    being present.
 9                THE DEFENDANT:     Thank you, Your Honor.       Thank you.
10                THE COURT:    I'll wait to receive that, and I'll give
11    you a written order early next week.         Okay?
12                MR. BILKOVIC:     Thank you, Your Honor.
13                THE DEFENDANT:     Thank you.    Thank you, Your Honor.
14          (Proceedings concluded at 9:46 a.m.)
15                                    -    -   -
16                           C E R T I F I C A T I O N
17          I certify that the foregoing is a correct transcription of
18    the record of proceedings in the above-entitled matter.
19
20    s/ Sheri K. Ward                                  1/12/2022
      Sheri K. Ward                                     Date
21    Official Court Reporter
22                                    -    -   -
23
24
25

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